                                     OR GINAL
           Case 1:18-cv-00788-NBF Document 9 Filed 09/14/18 Page 1 of 3




           3Jn tbe Wniteb ~tates <!Court of jfeberal <!Claims
                                     No. 18-788C & 18-789C
                                    CONSOLIDATED
                                (Filed: September 14, 2018)

                                             )
    ISAIAH MALIK SUBER,                      )
                                             )
                 Pro Se Plaintiff,           )
                                             )
                                                               FILED
    V.                                       )                SEP 1 4 2018
                                             )
                                                             U.S. COURT OF
    THE UNITED STA TES,                      )              FEDERAL CLAIMS
                                             )
                       Defendant.            )
_ _ _ __ __ _ _                              )

                                          ORDER

        On August 8, 2018, the court issued an order (Docket No. 7) which granted the
defendant's motion to consolidate two of the prose plaintiffs complaints. In that same
order, the comt gave notice that Mr. Suber had until August 27, 2018 to respond to the
defendant's motion to dismiss (Docket No. 6). On September 4, 2018, the court issued a
second order (Docket No. 8) giving notice that Mr. Suber had until September 10, 2018,
to respond to defendant's motion to dismiss at that failure to do so, would result in the
dismissal of the consolidated cases for failure to prosecute. 1

       A review of court records indicates that as of this date, Mr. Suber has yet to
respond to defendant's motion to dismiss the above-captioned consolidated cases.
Accordingly, because Mr. Suber has failed to timely comply with the comts orders, the
above-captioned consolidated cases are hereby DISMISSED pursuant to Rule 41 (b) of
the Rules of the United States Court of Federal Claims for failure to prosecute.

         IT IS SO ORDERED.




1
 A courtesy copy of the comi's August 8, 2018 and September 4, 20 18 orders, referenced above,
are attached.
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         Case 1:18-cv-00788-NBF Document 9 Filed 09/14/18 Page 2 of 3
          Case 1:18-cv-00788-N'l A?i~,,~8, eed 09/04/18 Page 1 of 2

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                                       No. 18-788C                                 SEP - 4 20!8
                                (Filed: September 4, 2018)                        LJ.S. COURT OF
                                                                                 FEDERAL CLAIMS
                                          )
  ISAIAH MALIK SUBER,                     )
                                          )
                Pro Se Plaintiff,         )
                                          )
 v.                                       )
                                          )
 THE UNITED STATES,                       )
                                          )
                      Defendant.          )
____________                              )

                                        ORDER

        On August 8, 2018, the court issued an order (Docket No. 7) granting defendant's
motion to consolidate the two complaints prose plaintiff, Mr. Suber filed on the same
day and covered the same general facts. In addition, the court gave notice to Mr. Suber
that he had until August 27, 2018 to respond to defendant's motion (Docket No. 6) to
dismiss his cases pursuant to Rule 12(b)(J) of the Rules of the Court of Federal Claims
for lack of jurisdiction.

        A review of court records indicates that Mr. Suber has yet to respond to
defendant's motion to dismiss both of this complaints. Mr. Suber shall have until
September 10, 2018, to respond to defendant's motion or the court will dismiss his cases
for failure to prosecute.

      IT IS SO ORDERED.




                                                        Senior Judge
         Case 1:18-cv-00788-NBF Document 9 Filed 09/14/18 Page 3 of 3
         Case 1:18-cv-00788-NBF Document 8 Filed 09/04/18 Page 2 of 2
          case 1:18-cv-00788-NBF Document 7 Filed 08/08/18 Page 1 of 3
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                                           No. 18-788C                                 US. COURT OF
                                      (Filed: August 8, 2018)                         1·Ei.1UlAL CLAIMS


                                                 )
    ISAIAH MALIK SUBER,                          )
                                                 )
                  Pro Se Plaintit1;              )
                                                 )
    V.                                           )
                                                 )
    THE UNITED STA TES,                          )
                                                 )
       Defendant.                                )
______________                                   )

                                            ORDER

       The court is in receipt of defendant's motion (Docket No. 6), filed July 27, 20 I 8,
to consolidate prose plaintiffs two complaints 1, which Mr. Suber filed on the same day
and cover the same general facts. In addition, defendant requests that plaintiffs two cases
be dismissed pursuant to RCFC 12(b)(l) for lack of jurisdiction. The court ORDERS as
follows:

         I.     Defendant's motion to consolidate Mr. Suber's two complaints is
                GRANTED. Accordingly, Case No. 18-788C and Case No. 18-789C are
                hereby CONSOLIDATED. All future filings will be filed in the lead case,
                Cast: No. 18-788C.

         2.     Mr. Suber shall have until August 27, 2018 to respond to defendant's
                motion to dismiss both of his complaints.

         IT IS SO ORDERED,



                                                                      B. FIRESTONE
                                                                    Judge

1
  On June l, 2018,pro se plaintiff; Isaiah Malik Suber filed two complaints. The Clerk of the
Court opened two cases: Case No. 18-788C and Case No. 18-789C. The first case, Case No, I 8-
788C, was assigned the Sr. Judge Nancy B. Firestone. The second case, Case No. 18-789C,
originally assigned to Judge Mary Ellen Coster Williams, was transferred and reassigned to Sr.
Judge Nancy B. Firestone on August I, 2018,
